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17

18
                            IN THE UNITED STATES DISTRICT COURT
19                         THE NORTHERN DISTRICT OF CALIFORNIA
20                                    SAN JOSE DIVISION

21
     NETCHOICE, LLC d/b/a NetChoice,
22
                  Plaintiff,
23                                               Case No. 5:22-cv-08861-BLF
           v.
24                                               JOINT STIPULATION REGARDING
     ROB BONTA, ATTORNEY GENERAL OF              INITIAL CASE MANAGEMENT
25   THE STATE OF CALIFORNIA, in his official    CONFERENCE
     capacity,
26
                  Defendant.
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     JOINT STIPULATION RE INITIAL
     CASE MANAGEMENT CONFERENCE
     Case No. 5:22-cv-08861-BLF
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 1            Pursuant to Local Rules 6-2, 7-11, and 7-12, Plaintiff NetChoice, LLC, and Defendant Rob
 2   Bonta, Attorney General of the State of California, stipulate and respectfully request that the Court
 3   enter an order continuing the August 8, 2024 case management conference until October 3, 2024,
 4   or until 21 days after the Ninth Circuit issues its mandate in the pending appeal, whichever occurs
 5   first.
 6            Plaintiff filed the Complaint on December 14, 2022, alleging that AB 2273 is
 7   unconstitutional and preempted by federal law (ECF No. 1);
 8            Plaintiff filed a motion for a preliminary injunction on February 17, 2023 (ECF No. 29);
 9            This Court granted Plaintiff’s motion for a preliminary injunction on September 18, 2023
10   (ECF No. 74);
11            Defendant appealed this Court’s order granting Plaintiff’s motion for a preliminary
12   injunction to the United States Court of Appeals for the Ninth Circuit on October 18, 2023 (ECF
13   No. 75);
14            The Ninth Circuit held oral argument on Defendant’s appeal on July 17, 2024 (Ninth
15   Circuit Dkt. 120);
16            The initial case management conference is scheduled for August 8, 2024 (ECF No. 84);
17            The parties agree that it would be more efficient to hold the initial case management
18   conference closer to or after the Ninth Circuit rules on the pending appeal, in the event the Ninth
19   Circuit appeal disposes of the issues before this Court.
20            Therefore, the Parties hereby jointly stipulate and agree to respectfully request as follows:
21            The initial case management conference should be continued from August 8, 2024, to
22   October 3, 2024, or until 21 days after the Ninth Circuit issues its mandate in the pending appeal,
23   whichever occurs first.
24            ///
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 1        IT IS SO STIPULATED
 2

 3   DATED: July 25, 2024                     Respectfully submitted,

 4
                                              DAVIS WRIGHT TREMAINE LLP
 5

 6
                                              By: /s/ Ambika Kumar
 7                                                    Ambika Kumar

 8                                            Attorneys for Plaintiff
                                              NetChoice LLC, d/b/a NetChoice
 9
10

11   DATED: July 25, 2024                     Respectfully submitted,
12

13                                            ROB BONTA
                                              Attorney General of California
14                                            ANYA M. BINSACCA
                                              Supervising Deputy Attorney General
15

16                                            By: /s/ Kristen Liska
17                                               KRISTIN A. LISKA
                                                 Deputy Attorney General
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19                                            Attorneys for Defendant

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      Case 5:22-cv-08861-BLF           Document 86        Filed 07/25/24       Page 4 of 4


 1                      CERTIFICATION OF SERVICE AND COMPLIANCE
 2          I, Ambika Kumar, hereby certify that pursuant to N.D. Cal. Civil L.R. 5-1(h)(3), I have
 3   obtained authorization from the above signatories to file the above-referenced document and that
 4   they have concurred in the filing’s content. I further certify that I have served all parties with the
 5   foregoing by electronic service through the Court’s ECF system.
 6

 7   Dated: July 25, 2024
 8                                                       Respectfully submitted,
 9                                                       DAVIS WRIGHT TREMAINE LLP
10
                                                         By: /s/ Ambika Kumar
11                                                               Ambika Kumar
12                                                       Attorneys for Plaintiff
                                                         NetChoice, LLC d/b/a NetChoice
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